  Case 3:17-cr-03984-CAB Document 3 Filed 11/29/17 PageID.2 Page 1 of 1
AO 455 (Rev. 5/85) Waiver of Indictment




                           UNITED STATES DISTRICT COfRT                               r-·--·-···-·-------·---·-·1
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                        SOrJTHERN DISTRICT OF                CALIF'f~~~~'~;
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UNITED STATES OF AMERICA                                 WAIVER OF INDICTMENT

                v.

ANDREW ALLEN VAN VOORHIES                                CASE NUMBER:            l1C12-3'1glf-~


        I, ANDREW ALLEN VAN VOORHIES, the above-named defendant, who

is accused of committing the following offenses:

        Title 18, U.S.C., Sec. 1001                        False     Statement                                    to              a
        Federal Officer (Felony),

being      advised        of     the      nature    of     the    charges,                     the                          proposed

information,           and     of    my      rights,     hereby    waive                  in              open                            court

on          1/- 79-1?                        prosecution by indictment and consent

that      the     proceeding           may    be   by     information                rather                                 than                  by

indictment.




                                                         Defendant




Before


                     ANDREW G. SCHOPLER
                     U.S. MAGISTRATE JUDGE
